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- District Clerk
Case 4:20- “Mag D Vth, -4 Filed on 03/06/20 in TXS Be eue VTaSrs
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Ss eS aH. 189 By: CARROLL, JOSHUA D

neo COU Ht DISTRICT CLERK Filed: 2/20/2020 10:25:41 AM

201 Caroline | P.O, Box 4651 | Houston, Texas 77210-4651 | 832-927-5800 | www.cdistrictclerk.com

Request for Issuance of Service

CASE NUMBER: __ CURRENT COURT:
Name(s) of Bocuments to he served: ORIGINATING PETITION e (
o
FILE DATE: 02/19/2020 Month/Day/Year oS
SERVICE TO BE ISSUED ON (Please List Exactly As The Name Appears In The Pleading To Be
Served): &
ss
Issue Service to: GABRIELLE NICOLE HANSEN OS”
Address of Service: 3 WISTERIA WALK CIRCLE QD
City, State & Zip: SPRING TEXAS 77381 €&
Agent (if spaticable) &
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B ACE /PROCES s-C[O BE ISSUED kthe' proper Box)
Px Citation | Citation by Posting Citation ¥ Publication ["] Citations Rule 106 Service
[_] Citation Scire Facias © Newspaper &
aS)
LJ Temporary Restraining Order CJ Precejit ° _] Notice
[_] Protective Order WL
| Secretary of State Citation ($12.00) [] Kapias (uot by £-Issuance) j Attachment (not by f-Issuance)
(_] Certiorari [2 ighway Commission ($12.00)
[_] Commissioner of Insurance ($12. oI Hague Convention ($16.00) | [_] Garnishment
[_] Habeas Corpus (not by E-Issuanes) Oo L_] Injunction {_] Sequestration
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["] Gther (Please Describe) ©
(See additional Forms for = udgment Service)
SERVICE BY (check
(] ATTORNEY PICKUP teansh _ (]E-Issuance by District Clerk
L_] MAIL to attorney ey at: (No Service Copy Fees Charged)
[_] CONSTAB ES" Note: The email registered with EfileTexas.gov must be
[_] CERTIFIED by District Clerk used to retrieve the E-Issuance Service Documents,
Visit www.hedistrictelerk,com for more instructions.
RX] CIVIL PROCESS SERVER - Authorized Person to Pick-up: LONESTAR, MAILBOX 17 Phone:
L] OTHER, explain

Issuance of Service Requested By: Attorney/Party Name: Matthew Ugbana Bar # or ID 20369920
Mailing Address: 6776 Southwest Fwy, #225, Houston TX 77074 2 SEE SuTS
Phone Number: 713-772-0404

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ALL-STATE LEG
203 Cavélie | P.O Bow ABSL ( HoUstOn, Texas 7TZ10-4051. | 832-927-5800 | wwivihcaleiitelankcom

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CASE NUMBER: et __ CURRENT COURT:

Name(s) of Documents to be served: ORIGINATING PETITION a
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SERVICE TO BE ISSUED ON (Please List Exactly As The Name Appears In The@leading To Be
Served):

Issue Service'to: BRIAN SCHWEIKER _ ee 2

Address of Service 26203 Oak Ridge Dive -

City, State & Zip: The Woodlands TX 77380 _&

Agent (ifapplicable) _ cp. we

TYPE OF  SERVICE/PROCESS 10 BE ISSUED: (Check the p Kor t Bax)

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EI Subpoena s
.[_] Other (Please Describe), Q _
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[_] ATTORNEY PE Gk ? (phiois) ______.__ L] FAlssnance by District Clerk

| L| MALL to attorney at: __ (Ne-Service Copy Fees‘ Charged)
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K] CIVEL PROCESS SERVER - Authorized Peison.to Pick-up: JONES TAR, MatLROX izPhoner

[J OTHER, explain

" Issuance of Service Requested By: Attomioy/Party Natie® Mathew Ugbana Bar or 1D 20369920
Mailing Address: 6776 Southwest Fwy, #295, Heuston TX 77074
Phone Number: 7 §3-772.0404.

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204 Cerone | PO, 0% 4651 | Houston, Texas FARO-ABSL [ 832° at 5a00 [w in, vhcustetclenk coin
Request forlssuance of Service

CASE, NUMBER: | ceo _ CURRENT: COURT:
Name(s).of Documents to beserved: “ORIGINATING PETITION ne . ee
FILE DATE: 02/19/2020 . Month/Day/Year ee

SERVICE TO BE ISSUED ON (Please List Exactly As The Name Appears In ThePieading To Be
Served): ©

Issue Service to: The Woodlands and Sprliig Realty, Ine (dba. RE/Max The Wa Dnds & Spring)
Address of Service [8000 Groschke Rd, #A07 _ 8 cS a
City, State & Zip: Houstoi TX 77084
Agent (it seat) | Richard arte

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a Rule 106 Service

CI Temporary Restraining Order Cj Py = ol Notice
\C] Protective Order
1] Secretary of State Citation ($12.00) [7] ss (nut by Etssuanes) oO Attachment (aa’by feteen ance) |
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1 [_] Commissioner of Insurance: ($12.00; ae Hague Conyention ($16.00) [_] Garnishiment
| (] Habeas Corpus (nar ty:n-teuaieay MS Injunetion 1 Sequestration
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| [_] Other (Please Describe), RX

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SERVICE BY (chegis ae):
L] ATTORNEY PIC: ISUP (phone) . (] BAssuance by District Clerk

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PAIL fiy- District Clerk used to-retrieve the E-lssuance Service Documents.
Visit www. hedistrictélerk.coi formore. itistructions..

| Eo] CEVEL PROCIESS SERVER - Authorized Person to Pick-up: LONBSTAR MAILBOX 17 Phone:
{CY OTHER, explain.

Issuance of Service Requested By: Attomey/Party Name: Matthew Usbana Bar #-or 1D 20369920
Mailing Address: 6776 Soithwest Fwy, #295, Houston TX77074
Phone Number: 713-772-0404

201 Caroline i P.O. Box 4651 { Houston, Texas. 77210-4654, |. 832-927-4800 | wwecncdistriciclerticorn.

hoe ibid Request forlssuance of Service
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Namo) of Documents to be served’ ORIGINATING PETITION _

FILE DATE: 02/19/2020 ___.., Monih/Day/¥ ear &
SERVICE TO BE ISSUED ON (Please List Exactly As The Name Appears in Pe Plending To Be

Served}: x
Issue Service to: RE/MAX HOLDINGS, INC.

Address-of Service 5075 South Syractige St.
City, State & Zip: Denver, Colorado 80237
Agent Cifapplicable) Geoffrey D. Lewis, Chis? Legal Counsel

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| C] Citation Scire Facias Newspaper _

‘(] Temporary Restraining Order [} Notice
| (1) Protective Order

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(See additional Forms for Rot Judgment Service)
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Visit ww. hedistrictelerk.cont fo# inore instructions.

Pe] CIVIL PROCESS SERVER - Authorized Person to Pick-up: LONESTAR, MAILBOX 17 Phone:

1[) OTHER, explain

Mailirig. Address: 6776 Southwest Fw:
Phone Number: 71347720404

(, #225, Houston TX 77074

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a0. Caroline | 2.0; Box. 4651 { Houston, Texas Talo ABS) | 832" SIT. “3800 | wunehedistrictclerk.cont

a Request forlssuance of Service
CASE NUMBER: oe CURRENT COURT!

Name(s) oF Documents to be-served: ORIGINATING PETITION

PILE DATE: 02/19/3020 MonthDay/ Year xe

SERVICE TO BE ISSUED ON. (Please List Exactly As The Name Appears In The

Issue Service to: JUDSONTUCKER eS

Address of Service 220-1/2 West Davis St. 2, eS
SS

City, State & Zip: Conroe, TX:-77301 — _. oO

Agent (if applicatale) | ce: _

TYPE OF SERVICE/PROCESS TO BE ISSUED: (Check the peaner Box)

Citation 1] Citation by Posting — [_] Citation L®
(C1 Citation Seire Faciag Newspaper <
CE) Temporary Restraining Order C] Peneg) LI Natice.

| CI Protective Order
: 7 Seay: etary’ of State Citation ($12.00) [I Capias ‘(nt ly stssunnee) (] Attachinent (hobby E-Isiuanee)
| C):Gertiorari Ley lighway Coininission ($12:00)

C) -Cominissioner of Instraites ($12.00 I Hague Convention ($16.00). (] Garnishment

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Visit wwwilicdistrictclerk.corn for more instructions.

FE] CLVEL PROCESS SERVIER - Authosized Person to Pick-tp: LONESTAR, MAILBOX 17 Phone:

Isstiance of Service Requested By: Attorney/Party Name: Matthew Usbana Bar # or ID 20369920
Mailing.Addtéss: 6776 Southwest Fwy, #225, Houston TX 77074
Phorig Number: 713-772.0404

YT CLERK

201-Carofine'| PO; Box 4651, | Houston; Texas 77210-4655 | 832-927-5800 | www celstictclerk.com

‘Reguest forlssuanceof Service
CASE NUMBER: CURRENT COURT;

Name(s) of Documents to by served: ORIGINATING PETITION

FILE DATE: 02/19/2020 Month/DayYea &
SERVICE TOBE ISSULD:ON (Please List Exactly Ag The Name Appears In Eevee To.Bé
Served):

dssueServiee to: BRYAN FOWLER °O
Address of Servine 300. West Davis St, Ste.: S10 2 Ss
City, State Zip: 77301, as ec ©
Agent{ifapplicable) _ &

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[1] Commissioner of insurance $12.00; SJ Hague Convention (626,00) ([] Garnishment
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T] OTHER, explain

Issuance of Service Requested By: Atfomey/Pany Nama: Matihew Usbana Bar # or (D 20360920
Mailing Address: 6776 Southwest Fwy, #225, Houston TX T1074
Phone: Number: 713-772-0404

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201 Caroline:| PO: Box 4651 | Houston, Texas 77210-4651, | 832-927-5800: wehedistrictclerkicom

Request foilssuance of Service
CURRENT COURTS -

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SERVICE TO BE ISSUED ON @lcase List Exactly As The Nante Appears In The@Bteading To Bé
Served): oO

Issue Service to: MONTGOMERY COUNTY____ . °©

Address of Service 207 West.Phillips St; . . 5 SS

City, State & Zip: Couroé TX 77301 ms ©

Agetit (if applicable) MONTGOMERY COUNTY ATTORNEY OFRy 2
TYPE OF SERVICE/PROCHSS TO BE ISSUED: (Check the p ee Hox)

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Ky] &| CIVIL PROCESS SERVER = Authorized Person:to Pick-up; Longs’ TAR, MAILBOX 17 Phone: _ .

[] OTHER, explain:

Issuance of Service Requested By: Attomey/Party Nanie: Matthew Ugbana Bar# or 1D 20369920
Mailing Address: 6776 Southwest Fwy, #225, Houstofi TX 77074
Phone Number: 713-772-0404

Case 4:20-cv-00820 Document 1-4 Filed on 03/06/20 in TXSD Page 8 of 8

MARILYN BURGESS
HARRIS COUNTY DISTRICT CLERK COPY OF PLEADING PROVIDED BY PLTD,

ENTERED

VERIFIEDAD 2-29-2020

Civil Process Pick-Up Form

CAUSE NUMBER: 202011613
ATY CIV x COURT to
ges
REQUESTING ATTORNEY/FIRM NOTIFICARION
*ATTORNEY: UGBANA, MATTHEW C PH: 3-772-98b8
OG
*CIVIL PROCESS SERVER: LONESTAR \S
Cy

*PH: OX: 17

*PERSON NOTIFIED SVC READY: &

* NOTIFIED BY: OY

DATE: &

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Type of Service Document: CITATION es Tracking Number 73727818
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Service Issued By: 708 Hele BATON

Civil Process Pick-Up eae Completed By: JOSHUA. CARROLL

Date: 02 —25-— 20h 30 days waiting: 03 — 25 — 2020
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RECORDER'S MEMORANDUM
This Instrument is of poor quality

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